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                      EXHIBIT D
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  01:00:00                                     TITLE SEQUENCE

  01:00:00   911 Operator (Archive)            911, where's your emergency?

  01:00:01                                     GRAPHICS ON SCREEN:
                                               [SUBTITLES]
                                               911 Operator:
                                               9-1-1, Where's your emergency?

  01:00:01                                     GRAPHICS ON SCREEN:
                                               Actual 911 Call
                                               2:26 am

  01:00:02                                     GRAPHICS ON SCREEN:
                                               [SUBTITLES]
                                               Connor Cook:
                                               We're in a boat crash
                                               on Archers Creek.

  01:00:03   Connor Cook                       We're in a boat crash on Archers Creek.
                                               There's six of us and one is missing.

  01:00:05                                     GRAPHICS ON SCREEN:
                                               [SUBTITLES]
                                               Connor Cook:
                                               There's six of us and
                                               one is missing.

  01:00:09                                     GRAPHICS ON SCREEN:
                                               [SUBTITLES]
                                               Background:
                                               where the **** is Mallory?

  01:00:09   Unknown female (Archive)          Where the <BLEEP> is Mallory?

  01:00:13   Gregg Roman                       The Murdaugh family saga started with the
                                               boat crash.

  01:00:14                                     GRAPHICS ON SCREEN:
                                               Actual Crime Scene Photo

  01:00:17   Female TV broadcaster (Archive)   Learning more details about the continuing
                                               search for a Hampton County, South Carolina
                                               teenager.

  01:00:19                                     GRAPHICS ON SCREEN:
                                               WTOC news update
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  01:00:22   Gregg Roman                     But ended up becoming a much much much
                                             larger story.

  01:00:26                                   GRAPHICS ON SCREEN:
                                             [SUBTITLES]
                                             911 Operator:
                                             Hampton county 9-1-1.
                                             Where's your emergency?

  01:00:26   911 Operator (Archive)          Hampton County 911. Where's your
                                             emergency?

  01:00:28                                   GRAPHICS ON SCREEN:
                                             [SUBTITLES]
                                             Alex Murdaugh:
                                             This is Alex Murdaugh.

  01:00:28   Alex Murdaugh (Archive)         Yes, this is Alex Murdaugh. My wife and
                                             child have been shot badly.

  01:00:29                                   GRAPHICS ON SCREEN:
                                             [SUBTITLES]
                                             Alex Murdaugh:
                                             My wife and child have
                                             been shot badly.

  01:00:33   Drew Tripp                      Who killed them? Why is this happening to
                                             these people?

  01:00:37   Anne Emerson                    This was an incredibly powerful family.

  01:00:41   Gregg Roman                     He stole from people he was supposed to
                                             protect.

  01:00:44   Male TV broadcaster (Archive)   The death of a 19 year old man which for
                                             years had been unresolved, but has now been
                                             reopened...

  01:00:45                                   GRAPHICS ON SCREEN:
                                             CNN news update

  01:00:47                                   GRAPHICS ON SCREEN:
                                             Actual Crime Scene Photo

  01:00:49   Michael Duncan                  He was murdered. And somebody in
                                             Hampton County knows exactly who did it.

  01:00:55   Male TV broadcaster (Archive)   Everyone around this guy seems to die,
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                                          except him.

  01:00:57                                GRAPHICS ON SCREEN:
                                          Fox News update

  01:01:00   Prosecutor                   Your Honor, this is the tip of the iceberg. This
                                          is an ongoing investigation.

  01:01:04   Anne Emerson                 You're talking about millions of dollars that
                                          went missing.

  01:01:07   Anthony Cook (Archive)       Get that <BLEEP> right there away from me.
                                          I hope you rot in <BLEEP> hell.

  01:01:08                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Get that ********* right there
                                          away from me.

  01:01:10                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          I hope you rot in ******* hell.

  01:01:12   Kimberly Brant               Pandora's Box is open. And the demons are
                                          loose.

  01:01:16                                GRAPHICS ON SCREEN:
                                          MURDAUGH
                                          MURDERS
                                          DEADLY DYNASTY

  01:01:28                                GRAPHICS ON SCREEN:
                                          Hampton, SC

  01:01:39   Anne Emerson                 The low country of South Carolina. This area
                                          is steeped in history. But if you just look at it
                                          from the physicality of it, it is entrancing.

  01:01:43                                GRAPHICS ON SCREEN:
                                          ANNE EMERSON
                                          Investigative Reporter WCIV TV

  01:01:56   D'Michelle Dupree            This is the old south essentially. They're close
                                          knit families, there are long traditions, there
                                          are legacies.
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  01:01:59                                GRAPHICS ON SCREEN:
                                          D'MICHELLE DUPRE
                                          Forensic Pathologist

  01:02:04   Clay Emminger                Very tight knit community. Everybody loves
                                          the water here, that's what we live here for.
                                          You can get yourself lost during the daytime
                                          and go exploring different creeks and it's just
                                          beautiful. But at night, it's a whole different
                                          animal. Foggy nights on the water are
                                          dangerous.

  01:02:14                                GRAPHICS ON SCREEN:
                                          CLAY EMMINGER
                                          Skipper, Beaufort Water Search & Rescue

  01:02:22                                GRAPHICS ON SCREEN:
                                          2019

  01:02:29                                GRAPHICS ON SCREEN:
                                          Saturday, February 23
                                          Beaufort County, SC

  01:02:40   Anne Emerson                 It's supposed to be a fun day. This is supposed
                                          to be just a fun trip out on the boat. You've
                                          got six kids, they're all between the ages of 18
                                          and 20 years old. There's Connor Cook and
                                          his girlfriend Miley Altman. You have
                                          Morgan Doughty and her boyfriend, Paul
                                          Murdaugh, and then there's Anthony Cook,
                                          Connor's cousin, and his girlfriend Mallory
                                          Beach.

  01:03:14   Drew Tripp                   Three couples, all life-long friends, they're out
                                          for a night of fun.

  01:03:15                                GRAPHICS ON SCREEN:
                                          DREW TRIPP
                                          Investigative Producer WCIV TV

  01:03:17                                GRAPHICS ON SCREEN:
                                          Original Snapchat Photo

                                          When your drink matches you

  01:03:19   Anne Emerson                 There was a trail of social media going on
                                          because that's what the kids do.

  01:03:25                                GRAPHICS ON SCREEN:
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                                          Original Snapchat Photo

  01:03:25   Drew Tripp                   They were apparently posting Snapchats for
                                          the whole night. Kinda giving their friends
                                          and family and followers a glimpse into what
                                          was going on, and what they were doing.

  01:03:35                                GRAPHICS ON SCREEN:
                                          Original Snapchat Photo

                                          Chechessee winter time

  01:03:42   Anne Emerson                 They wanted to go to a party. There was an
                                          oyster roast going on a mutual friend's house.
                                          We're famous for our oyster roasts. They are
                                          the quintessential gathering for family and
                                          friends, so instead of driving, Paul said "Well
                                          you know, my grandfather's river house is
                                          down here."

  01:04:02   Drew Tripp                   So their plan for the night is first they're
                                          gonna meet at Paul's grandfather's house on
                                          Chechessee.

  01:04:08   Kimberly Brant               Chechessee is the body of water just down the
                                          river.

  01:04:09                                GRAPHICS ON SCREEN:
                                          KIMBERLY BRANT
                                          Hampton Native

  01:04:13   Anne Emerson                 And they're gonna load up the boat, and go
                                          down to an oyster roast. Everybody bring
                                          your own alcohol, bring your own beer. So
                                          the kids are picking up a six pack here, a 12
                                          pack there. And then they're getting ready for
                                          their trip out up the river.

  01:04:16                                GRAPHICS ON SCREEN:
                                          Original Snapchat Video

                                          Look at the cute thang right there, soo happy
                                          to
                                          see me too

  01:04:24                                GRAPHICS ON SCREEN:
                                          Original Snapchat Photo

                                          Anthony said why you do ur lips like that
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  01:04:27                                GRAPHICS ON SCREEN:
                                          Original Snapchat Video

                                          Mallory

  01:04:30                                GRAPHICS ON SCREEN:
                                          Miley

  01:04:31                                GRAPHICS ON SCREEN:
                                          Anthony
                                          Mallory

  01:04:35                                GRAPHICS ON SCREEN:
                                          Mallory

  01:04:39   Drew Tripp                   Nobody on that boat could have imagined
                                          how this day was gonna end.

  01:04:46                                GRAPHICS ON SCREEN:
                                          Paul Murdaugh and his friends leave
                                          the oyster roast around midnight.

  01:04:55                                GRAPHICS ON SCREEN:
                                          At 2am, two hours after leaving
                                          the party, they are still not back
                                          at the Murdaugh house.

  01:05:02                                GRAPHICS ON SCREEN:
                                          Air temperature 57°

  01:05:04                                GRAPHICS ON SCREEN:
                                          Water temperature 67°

  01:05:08   Anne Emerson                 February, it's cold for us.

  01:05:11   Clay Emminger                There was what we call sea fog. It was very
                                          foggy that morning, and the fog was hovering
                                          right above sea level.

  01:05:20   Anne Emerson                 They're trying to get home, back to this river
                                          house. The conditions were deteriorating
                                          quickly. Paul was driving the boat.

  01:05:29   Drew Tripp                   Everybody on the boat was concerned about
                                          how he's driving. They're wanting him to
                                          show more caution to be more careful.
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  01:05:38   Anne Emerson                 Anthony is like, "Get me off at the next
                                          dock." But let's be honest, like, when you start
                                          getting into those waters, where are you
                                          getting off? And so it's terrifying.

  01:05:55   D'Michelle Dupree            They were going through the place called
                                          Archer's Creek, which is near the Parris Island
                                          Bridge.

  01:06:02   Drew Tripp (Archive)         That late at night, no lights, the conditions
                                          they were in, the fog...it's very dangerous.

  01:06:09                                GRAPHICS ON SCREEN:
                                          Original Snapchat Video

  01:06:11   Anne Emerson                 Got six kids on it, you know, you've got two
                                          people standing at the console, you've got two
                                          young girls at the very front.

  01:06:19   Gregg Roman                  The boat stops. They float.

  01:06:24   Anne Emerson                 And for whatever reason, that throttle gets
                                          pushed all the way down. You've got Mallory
                                          and Anthony, they hit the deck, they're on the
                                          bottom. He's holding onto his girlfriend as
                                          hard as he can.

  01:06:43   Anne Emerson                 And the next thing you know, they hit this
                                          pylon straight on.

  01:06:47                                GRAPHICS ON SCREEN:
                                          2:07 am
                                          Archer's Creek Bridge

  01:07:00   Anne Emerson                 It was horrific.

  01:07:08   Anne Emerson                 The boat just takes it straight into the hull,
                                          cracks it right down the seam, and you have a
                                          boat that is falling apart in front of your eyes.

  01:07:12                                GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

  01:07:19   Drew Tripp                   Paul Murdaugh, Anthony Cook and Malory
                                          Beach, all three were ejected from the boat.
                                          Connor, Miley and Morgan managed to stay
                                          in the boat, but two of them were severely
                                          injured in the process.
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  01:07:31                                GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

  01:07:33   Anne Emerson                 Morgan's hand has been seriously injured, and
                                          she's screaming bloody murder. Paul's in the
                                          water, Connor has been injured severely on
                                          his face.

  01:07:44   Drew Tripp                   They're all disoriented and in shock and
                                          traumatized by what's just happened. Anthony
                                          comes back across the water to where the boat
                                          wreckage is. He's asking the ones that are still
                                          in the boat, "Where's Mallory? Where's
                                          Mallory?"

  01:07:48                                GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

  01:07:58   Anne Emerson                 And they're like, "What do you mean where's
                                          Mallory?" Mallory Beach is nowhere to be
                                          found. And that's when the chaos and the
                                          confusion and the terror just starts seeping in.

  01:08:14                                GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          2:26 am

  01:08:16                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          9-1-1, Where's your emergency?

  01:08:16   911 Operator (Archive)       911, where's your emergency?

  01:08:19   Anne Emerson                 Connor cook calls dispatch and you can hear
                                          Connor trying to keep it together.

  01:08:24                                GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          2:26

  01:08:24                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Connor Cook:
                                          We're in a boat crash
                                          on Archers Creek.
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   01:08:25   Connor Cook (Archive)       We're in a boat crash on Archers Creek.

   01:08:28                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Where - whereabouts on Archer Street?

   01:08:28   911 Operator (Archive)      Where, whereabouts on Archer Street?

   01:08:31                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Connor Cook:
                                          In Archers Creek.

   01:08:31   Connor Cook (Archive)       In Archers Creek. The only bridge on Archers
                                          Creek.

   01:08:32                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Connor Cook:
                                          The only bridge on Archers Creek.

   01:08:34                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          A boat p- did you say a boat crash?

   01:08:34   911 Operator (Archive)      A boat - did you say a boat crash?

   01:08:36   Connor Cook (Archive)       A boat crash. There's six of us and one is
                                          missing.

   01:08:36                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Connor Cook:
                                          A boat crash.

   01:08:39                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Connor Cook:
                                          There's - there's six of us and
                                          one is missing.

   01:08:42                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Background:
                                          Mallory?
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   01:08:42   Unknown female (Archive)    Mallory?

   01:08:44   Connor Cook (Archive)       Please send someone.

   01:08:44                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Connor Cook:
                                          Please send someone.

   01:08:45                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Uh - no - I'm comi- We're going.
                                          We're coming, okay?

   01:08:45   911 Operator (Archive)      Oh no, I'm come, we're going, we're coming
                                          OK?

   01:08:48   Drew Tripp                  This is happening in sort of a no man's land
                                          almost. This is not an easy to reach place.

   01:08:54   Connor Cook (Archive)       We're under the only bridge in Archers Creek.

   01:08:54                               GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          2:26 am

   01:08:54                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Connor Cook:
                                          We're under the only bridge in
                                          Archers Creek.

   01:08:57                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay.

   01:08:57   911 Operator (Archive)      OK.

   01:08:57                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Connor Cook:
                                          If you come to Archers Creek there's
                                          only one bridge.

   01:08:57   Connor Cook (Archive)       If you come to Archers Creek there's only one
                                          bridge and we're under the bridge.
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   01:09:00                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Connor Cook:
                                          and we're under the bridge.

   01:09:01   911 Operator (Archive)      OK.

   01:09:01                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay.

   01:09:02                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Background:
                                          Where the <BLEEP> is Mallory?

   01:09:02   Unknown female (Archive)    Where the <BLEEP> is Mallory?

   01:09:04                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay.

   01:09:04   911 Operator (Archive)      OK.

   01:09:05                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Background:
                                          Mallory!

   01:09:05   Unknown female (Archive)    Mallory! Mallory!

   01:09:07                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Background:
                                          Mallory!

   01:09:10                               GRAPHICS ON SCREEN:
                                          2:46AM
                                          Police, Fire, EMS and Water rescue
                                          services begin arriving at the crash site.

   01:09:19   Deputy                      <INAUDIBLE>. ..there's a young lady down
                                          there...

   01:09:24                               GRAPHICS ON SCREEN:
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                                          Actual Police Dashcam

   01:09:24   Deputy 1                    Here. So far, the people that we have, the five
                                          that we have.

   01:09:24                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy 1:
                                          Here. So far, the people that we
                                          have are the five that we have.

   01:09:27                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy 2:
                                          OK. So we got five, six total,
                                          five accounted for.

   01:09:28   Deputy 2                    OK. So we got five, six total, five accounted
                                          for.

   01:09:31   Deputy 1                    Yes sir.

   01:09:31                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy 1:
                                          Yes, sir.

                                          Deputy 2:
                                          OK.

   01:09:31   Deputy 2                    OK.

   01:09:33   Drew Tripp                  You've got five young people out there.
                                          They're distraught, they're frantic, they're
                                          cold, they're wet. They're screaming.

   01:09:37                               GRAPHICS ON SCREEN:
                                          Actual Police Dashcam

   01:09:44   Anne Emerson                Paul, Miley, Morgan and Anthony are,
                                          according to the officers, I think they
                                          described them as grossly intoxicated when
                                          they saw 'em. Paul is walking around in his
                                          boxers. He starts mouthing off to the EMS
                                          personnel, he starts mouthing off to some of
                                          the law enforcement. And Anthony Cook
                                          basically is soaking wet. He's been in the
                                          water looking for Mallory, his girlfriend, and
                                          one of the officers pulls him aside, and sort of
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                                          tries to settle him down a little bit.

   01:09:52                               GRAPHICS ON SCREEN:
                                          Actual Police Dashcam

   01:10:02                               GRAPHICS ON SCREEN:
                                          Actual Police Dashcam

   01:10:18                               GRAPHICS ON SCREEN:
                                          Actual Police Audio

   01:10:18   Anthony Cook (Archive)      Did they find Mallory?

   01:10:18                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Did they find Mallory?

   01:10:20   Deputy (Archive)            Come on.

   01:10:21                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          Come on.

   01:10:22                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Did they find Mallory?

   01:10:22   Anthony Cook (Archive)      Did they find Mallory?

   01:10:23   Deputy (Archive)            Sit right here. You got everybody coming out
                                          here. You're, you're, you're my concern OK?

   01:10:23                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          Sit right here.

   01:10:24                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          You got everybody coming out here.

   01:10:26                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
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                                          You're... You're... You're my
                                          concern, okay?

   01:10:29   Anthony Cook (Archive)      I'm <BLEEP>

   01:10:29                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          I'm ******

   01:10:30   Deputy (Archive)            No you're not.

   01:10:30                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          No you're not.

   01:10:31   Anthony Cook (Archive)      Listen man, my mom works, my mom works
                                          for SLED.

   01:10:31                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Listen, man. My mom works -
                                          my mom works for SLED.

   01:10:34   Deputy (Archive)            OK, listen. That's cool. I done told you you're
                                          not in trouble.

   01:10:34                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          Okay. Listen. That's cool. I done told
                                          you you're not in trouble.

   01:10:37   Deputy (Archive)            Do you wanna talk...

   01:10:37                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          I need you to -

   01:10:37   Anthony Cook (Archive)      I need you to...I need to call her. I need to call
                                          her.

   01:10:38                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          I need to call her.
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   01:10:40                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          I need to call her.

   01:10:42   Anne Emerson                Anthony's trying to get a hold of his family.
                                          He needs to talk to his mom and tell her
                                          what's happened.

   01:10:57                               GRAPHICS ON SCREEN:
                                          Actual Police Audio

   01:10:58   Anthony Cook                Mom. Y'all need to come to Beaufort, quick.
                                          We hit a bridge, in the boat. Connor's
                                          <BLEEP> up. Connor's messed up bad. We
                                          can't find Mallory. Morgan's messed up bad.
                                          We can't find Mallory, mom. Mom, there's 50
                                          cops here. Coastguard, everything. We can't
                                          find Mallory. It's been 30 minutes mom.
                                          <SOBS>

   01:10:58                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Mom.

   01:11:00                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Y'all need to come to Beaufort, quick.

   01:11:04                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          We hit a bridge in the boat.

   01:11:08                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Connor's ****** up.

   01:11:12                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Connor's messed up bad.

   01:11:14                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
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                                          Anthony Cook:
                                          We can't find Mallory.

   01:11:15                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Morgan's messed up bad.

   01:11:18                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          We can't find Mallory, mom.

   01:11:20                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Mom, there's fifty cops here.
                                          Coast Guard. Everything.

   01:11:24                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          We can't find Mallory.

   01:11:27                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          It's been thirty minutes, mom.

   01:11:30                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          (Sobbing)

   01:11:37   Anne Emerson                And while he's there, Paul is sort of making
                                          his way into the same area, and, and looks
                                          over at where Anthony is. And he was smiling
                                          at the moment where Anthony's whole world
                                          was shattering.

   01:11:52   Drew Tripp                  Anthony sees Paul and just explodes. He loses
                                          it.

   01:11:56   Anthony Cook (Archive)      Get that <BLEEP> right there away from me.
                                          I begged this <BLEEP> to let me drive. Are
                                          you <BLEEP> smiling like it's <BLEEP>
                                          funny?

   01:11:56                               GRAPHICS ON SCREEN:
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                                          Actual Police Audio

   01:11:56                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Get that *********** right there
                                          away from me.

   01:11:59                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          I begged this ******* to let me drive.

   01:12:03                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Are you ******** smiling
                                          like it's ******* funny?

   01:12:06   Unknown male (Archive)      Sit down, sit down.

   01:12:07                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          My ******** girlfriend's gone, Bo.

   01:12:07   Anthony Cook (Archive)      My <BLEEP> girlfriend's gone, Bo.

   01:12:09                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          You think it's ******** funny?

   01:12:10   Unknown male (Archive)      Sit, sit down.

   01:12:10   Anthony Cook (Archive)      You think it's <BLEEP> funny?

   01:12:12   Unknown male (Archive)      Sit down, sit down.

   01:12:14   Anthony Cook (Archive)      I hope you rot in <BLEEP> hell.

   01:12:14                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          I hope you rot in ******* hell.

   01:12:16   Unknown male (Archive)      Sit down.
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   01:12:17   Anne Emerson                Anthony screams at Paul, clearly putting the
                                          blame of the crash on him, and then turns to
                                          the deputy with his anguish.

   01:12:28   Anthony Cook (Archive)      Y'all know Alex Murdaugh?

   01:12:28                               GRAPHICS ON SCREEN:
                                          Actual Police Audio

   01:12:28                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Y'all know Alex Murdaugh?

   01:12:30                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          Ah, yeah. I know the name.

   01:12:30   Deputy (Archive)            Ah yeah, I know the name.

   01:12:31                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          That's his son.

   01:12:32   Anthony Cook (Archive)      That's his son.

   01:12:34   Deputy (Archive)            That's him driving the boat?

   01:12:34                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          That's him driving the boat?

   01:12:35                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Good luck.

   01:12:35   Anthony Cook (Archive)      Good luck.

   01:12:38   D'Michelle Dupree           When Anthony says "Ya'll know Alex
                                          Murdaugh? That's his son, good luck." To me
                                          that says it all.

   01:12:45   Gregg Roman                 There was a sense of invincibility, immunity
                                          and impunity around the Murdaugh family.
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   01:12:52   D'Michelle Dupree           That Mallory was missing, and they couldn't
                                          find her, he knows. This is just probably
                                          going to be swept under the rug like
                                          everything else.

   01:12:59   Gregg Roman                 This family was seen as untouchable.

   01:13:04                               Break 1

   01:13:19                               GRAPHICS ON SCREEN:
                                          Actual Police Audio

   01:13:19                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          Hey, you been checked out?

   01:13:20   Deputy (Archive)            Hey, you've been checked out by an
                                          ambulance? Hey buddy. You been checked
                                          out by an ambulance?

   01:13:21                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          ...by an ambulance?...

   01:13:22                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          Hey buddy.

   01:13:23                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          You been checked out by
                                          an ambulance?

   01:13:24   Paul Murdaugh (Archive)     Yeah, I'm fine.

   01:13:25                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          Yeah, I'm fine.

   01:13:26   Deputy (Archive)            Sure? Look, get checked out alright?

   01:13:26                               GRAPHICS ON SCREEN:
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                                          [SUBTITLES]
                                          Deputy:
                                          Sure?

   01:13:27                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          Look, get checked out, alright?

   01:13:29                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          Yeah, I'm fine.

   01:13:29   Paul Murdaugh (Archive)     Yeah. I'm fine. I mean, shit, what's going...

   01:13:31                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          What's your last name, buddy?

   01:13:31   Deputy (Archive)            What's your last name buddy?

   01:13:32                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          Murdaugh.

   01:13:33   Paul Murdaugh (Archive)     Murdaugh.

   01:13:34                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          M-U-

   01:13:34   Deputy (Archive)            M U...

   01:13:34                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          M-U-R-D-A-U-G-H.

   01:13:35   Paul Murdaugh (Archive)     M U R D A U G H.

   01:13:38   Anne Emerson                The center character for what happened out
                                          on that boat was Paul Murdaugh. Paul
                                          Murdaugh is the youngest son of Alex.

   01:13:40                               GRAPHICS ON SCREEN:
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                                          ANNE EMERSON
                                          Investigative Reporter WCIV TV

   01:13:53   Gregg Roman                 Alex Murdaugh is the beneficiary of his
                                          family's four generation legal dynasty.

   01:13:56                               GRAPHICS ON SCREEN:
                                          GREGG ROMAN
                                          Investigative Journalist

   01:14:01   Drew Tripp                  I grew up with a lot of Murdaughs. I know
                                          Murdaughs. The Murdaugh family is
                                          synonymous with criminal justice, law
                                          enforcement, the law, in this part of South
                                          Carolina.

   01:14:09                               GRAPHICS ON SCREEN:
                                          DREW TRIPP
                                          Investigative Producer WCIV TV

   01:14:12                               GRAPHICS ON SCREEN:
                                          Randolph Murdaugh Sr.

   01:14:13   Anne Emerson                The Murdaugh family dynasty started with
                                          Randolph Senior. He was really the great
                                          patriarch of this family.

   01:14:22                               GRAPHICS ON SCREEN:
                                          Randolph Murdaugh Sr.

   01:14:23   Gregg Roman                 In 1920, Randolph Murdaugh was the first
                                          elected solicitor of the 14th Judicial Circuit.

   01:14:30   Michael Virzi               So solicitor is South Carolina's word for a
                                          district attorney. And it's the lead criminal
                                          prosecutor for that district, or in South
                                          Carolina, that circuit. It is a powerful role.
                                          The solicitor's office decides what cases to
                                          prosecute, and when a case is gonna get
                                          prosecuted and when people are charged.

   01:14:34                               GRAPHICS ON SCREEN:
                                          MICHAEL VIRZI
                                          Attorney, Legal Ethics Expert

   01:14:49                               GRAPHICS ON SCREEN:
                                          Randolph Murdaugh Sr.
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   01:14:50   Gregg Roman                 He would hold that position for 20 years.
                                          Right after his death, his son, Randolph
                                          Murdaugh, also known as Buster, came into
                                          office and he ruled from 1940 until 1986. In
                                          1986, his son Randolph Murdaugh the third,
                                          took over and eventually would be the
                                          solicitor until 2006.

   01:14:54                               GRAPHICS ON SCREEN:
                                          Randolph Murdaugh II

   01:15:04                               GRAPHICS ON SCREEN:
                                          Randolph Murdaugh II

   01:15:06                               GRAPHICS ON SCREEN:
                                          Randolph Murdaugh III

   01:15:15   Anne Emerson                The personal injury law firm, PMPED, is a
                                          very important part of this family. It's a law
                                          firm that has been there for more than a
                                          century. Randolph the third is still in this law
                                          firm, and his sons, Randy Murdaugh and Alex
                                          Murdaugh, sort of carry on his legacy.

   01:15:26                               GRAPHICS ON SCREEN:
                                          Randolph Murdaugh III

   01:15:32                               GRAPHICS ON SCREEN:
                                          Randy Murdaugh

   01:15:34                               GRAPHICS ON SCREEN:
                                          Alex Murdaugh

   01:15:40   Michael Virzi               Even though it was Peters, Murdaugh, Parker,
                                          Eltzroth & Detrick, it was known as the
                                          Murdaugh firm for generations.

   01:15:50   Drew Tripp                  Everybody knows that if you want a powerful
                                          attorney, somebody that's gonna take your
                                          case and win your case and get you a lot of
                                          money, you call the Murdaughs. You call the
                                          Murdaugh law firm.

   01:16:05   Gregg Roman                 The influence of PMPED even extended to
                                          the courthouse that they practiced in, with
                                          dominating portraits of all of the members of
                                          the Murdaugh family that served as solicitor
                                          looking over the very people practicing in
                                          their court room.
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   01:16:25   Drew Tripp                  So when this boat crash occurs, there is
                                          certainly the perception that the Murdaughs
                                          are above the law.

   01:16:36                               GRAPHICS ON SCREEN:
                                          By 4 am, the night of the boat crash,
                                          Mallory Beach has been missing for
                                          more than 90 minutes.

   01:16:47                               GRAPHICS ON SCREEN:
                                          Actual Police Audio

   01:16:47                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          Hey.

   01:16:47   Paul Murdaugh (Archive)     Hey...

   01:16:48   Deputy (Archive)            We're, we're looking right now for her, they're
                                          down there looking OK? Alright buddy?

   01:16:48                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          We're looking right now for her...

   01:16:49                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          they're down there looking,
                                          OK? Alright buddy?

   01:16:51                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          They got a good search on her, right?

   01:16:51   Paul Murdaugh (Archive)     They got a good search on her right?

   01:16:52                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          Yeah, yeah.

   01:16:53   Deputy (Archive)            Yeah. Yeah.
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   01:16:53   Paul Murdaugh (Archive)     They probably going to find her easy.

   01:16:53                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          They're probably going to find her easy.

   01:16:56   Deputy (Archive)            They're gonna find her. OK?

   01:16:56                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          Don't ya think?

   01:16:57   Paul Murdaugh (Archive)     Don't you think?

   01:16:57                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          They're down there looking
                                          right now, okay?

   01:16:58   Deputy (Archive)            They're, they're down there looking right now
                                          OK?

   01:16:59                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          You really got to...

   01:16:59   Paul Murdaugh (Archive)     You really got to, that's a good search team
                                          right?

   01:17:00                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          That's a good search team, right?

   01:17:03                               GRAPHICS ON SCREEN:
                                          Mallory Beach's boyfriend, Anthony
                                          Cook, is questioned by a
                                          Sheriff's Deputy.

   01:17:12   Anthony Cook                I'll be 21 in three days man.

   01:17:12                               GRAPHICS ON SCREEN:
                                          Actual Police Audio
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   01:17:12                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          I'll be 21 in three days, man.

   01:17:15                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          What about the driver of the boat?

   01:17:15   Deputy (Archive)            What about the driver of the boat? Is he 21?

   01:17:16                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          Is he 21?

   01:17:17                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          No.

   01:17:17   Anthony Cook (Archive)      No.

   01:17:18                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          So everybody on the boat's
                                          been dinking <SIC> ?

   01:17:18   Deputy (Archive)            So everybody on the boat's been drinking?

   01:17:20                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Yeah.

   01:17:20   Anthony Cook (Archive)      Yeah.

   01:17:21   Deputy (Archive)            Especially the driver?

   01:17:21                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          Especially the driver?

   01:17:23                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
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                                          Anthony Cook:
                                          I begged to drive that ******* boat.

   01:17:23   Anthony Cook (Archive)      I begged to drive that <BLEEP> boat.

   01:17:25   Deputy (Archive)            The driver, how much has he had to drink?

   01:17:25                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          The driver, how much has
                                          he had to drink?

   01:17:27   D'Michelle Dupree           This was an accident and it is a chargeable
                                          offense, not just because someone is missing,
                                          but because also there was alcohol involved
                                          and they're all under age, so it's imperative
                                          that the law enforcement understand who that
                                          driver is.

   01:17:29                               GRAPHICS ON SCREEN:
                                          D'MICHELLE DUPRE
                                          Forensic Pathologist

   01:17:36                               GRAPHICS ON SCREEN:
                                          Original Snapchat Video

   01:17:44   DNR officer (Archive)       Hey, I'm with the Department of Natural
                                          Resources. Who was driving the, the boat?

   01:17:44                               GRAPHICS ON SCREEN:
                                          Actual Police Audio

   01:17:44                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          DNR officer
                                          Hey, I'm with the
                                          Department of Natural Resources.

   01:17:47                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          DNR Officer
                                          Who was driving the, the boat?

   01:17:49   Unknown male (Archive)      Right, y'all fix up...

   01:17:51                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
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                                          Anthony Cook:
                                          The last time I grabbed my girlfriend

   01:17:51   Anthony Cook (Archive)      The last time I grabbed my girlfriend and got
                                          down in the bottom of the boat, Paul was
                                          driving.

   01:17:53                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          and got down in the bottom of the boat,

   01:17:55                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Paul was driving.

   01:17:56                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          DNR Officer:
                                          Paul was driving?

   01:17:56   DNR officer (Archive)       Paul was driving?

   01:17:57                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          Yes, sir.

   01:17:57   Anthony Cook (Archive)      Yes sir.

   01:17:59                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          I begged and begged
                                          and begged and begged

   01:17:59   Anthony Cook (Archive)      I begged and begged and begged and begged
                                          to let me drive.

   01:18:01                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Anthony Cook:
                                          to let me drive.

   01:18:03   Unknown male (Archive)      Uh huh.

   01:18:04                               GRAPHICS ON SCREEN:
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                                          Original snapchat Video

   01:18:05   Drew Tripp                  Paul again is reportedly grossly intoxicated
                                          and one thing that sticks out is, he was trying
                                          to get law enforcement to give him a phone.

   01:18:12                               GRAPHICS ON SCREEN:
                                          DREW TRIPP
                                          Investigative Producer WCIV TV

   01:18:15                               GRAPHICS ON SCREEN:
                                          Actual Police Audio

   01:18:15                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          Can I use your phone?

   01:18:16   Paul Murdaugh (Archive)     Can I use your phone? Can I use your phone?

   01:18:18                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          Can I use your phone?

   01:18:19                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          Hey bud, I ain't got my phone
                                          on me, brother.

   01:18:20   Deputy (Archive)            Hey bud, I ain't got my phone on me brother.

   01:18:21   Paul Murdaugh (Archive)     You ain't got your phone on you?

   01:18:21                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          You ain't got your phone on ya?

   01:18:22   Deputy (Archive)            No you dropped yours on the grass right back
                                          there.

   01:18:22                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Deputy:
                                          No you dropped yours on the
                                          grass right back there.
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   01:18:25                               GRAPHICS ON SCREEN:
                                          An EMT on the scene lends
                                          Paul a cell phone.

   01:18:34   Kimberly Brant              He didn't call his dad on that cell phone. He
                                          called Handsome. Handsome is Randolph,
                                          that's what his grandchildren called him.

   01:18:35                               GRAPHICS ON SCREEN:
                                          KIMBERLY BRANT
                                          Hampton Native

   01:18:44   Anne Emerson                The grandfather, of course, is Randolph the
                                          third. The third generation of solicitors in this
                                          area. A man of incredible power and
                                          influence, and obviously a great protector of
                                          the Murdaugh family.

   01:18:47                               GRAPHICS ON SCREEN:
                                          Paul Murdaugh

   01:18:48                               GRAPHICS ON SCREEN:
                                          Randolph Murdaugh III

   01:19:00   Kimberly Brant              When Handsome asked him who was driving
                                          the boat, he said Cotton. Connor cook is
                                          Cotton. So Paul lied to his grandfather and
                                          told him that Connor Cook was driving the
                                          boat.

   01:19:05                               GRAPHICS ON SCREEN:
                                          Original Snapchat Video

   01:19:15   Anne Emerson                So Connor and Miley, when they hear this,
                                          because Miley's standing nearby, his
                                          girlfriend, they kinda look at each other like,
                                          "Did he really just pin this on me? You know,
                                          did they really just, did this really just
                                          happen? You're gonna tell your grandfather
                                          that Connor was driving?

   01:19:26                               GRAPHICS ON SCREEN:
                                          Original Snapchat Video

   01:19:36                               GRAPHICS ON SCREEN:
                                          Ambulances begin taking
                                          the survivors to nearby
                                          Beaufort Memorial Hospital.
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   01:19:45   Gregg Roman                 Paul Murdaugh requires a police escort on his
                                          way to the hospital, because he is so drunk, he
                                          doesn't know left from right. He doesn't know
                                          who's who.

   01:19:50                               GRAPHICS ON SCREEN:
                                          GREGG ROMAN
                                          Investigative Journalist

   01:19:55   Anne Emerson                They have to literally physically get him into
                                          that ambulance and have a, an officer ride
                                          along with him to make sure that they get to
                                          the hospital. The only one that doesn't go is
                                          Anthony. Anthony refuses to get into the
                                          ambulance. He is literally waiting for them to
                                          find Mallory.

   01:20:04                               GRAPHICS ON SCREEN:
                                          Actual Police Dashcam

   01:20:22   Clay Emminger               When you're looking for someone like this,
                                          that's missing, that's been thrown into the
                                          water, you're obviously optimistic at first. We
                                          still had hope all through the night that we
                                          were gonna find her unconscious, floating,
                                          was our best case scenario. And that's what
                                          we were hoping for.

   01:20:25                               GRAPHICS ON SCREEN:
                                          CLAY EMMINGER
                                          Skipper, Beaufort Water Search & Rescue

   01:20:37   Anne Emerson                That dense fog has really laid in. They need
                                          for that sun to come up because they know the
                                          sun's gonna burn off the fog. And they have to
                                          just stop. Call off the search at some point,
                                          and they have to wait. And it just is
                                          heartbreaking.

   01:20:55                               GRAPHICS ON SCREEN:
                                          Actual Police Dashcam

   01:21:03                               Break 2

   01:21:16                               GRAPHICS ON SCREEN:
                                          D'MICHELLE DUPRE
                                          Forensic Pathologist
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   01:21:16   D'Michelle Dupree           The scene at the hospital when they initially
                                          arrive, there's a lot of confusion.

   01:21:22                               GRAPHICS ON SCREEN:
                                          DREW TRIPP
                                          Investigative Producer WCIV TV

   01:21:22   Drew Tripp                  It's all hands on deck. The staff is there
                                          treating multiple trauma patients. You've got
                                          four teenagers now. Some of them are
                                          bleeding, they're injured, they're distraught.

   01:21:32                               GRAPHICS ON SCREEN:
                                          Miley Altman, Morgan Doughty,
                                          Connor Cook and Paul Murdaugh
                                          are put in separate rooms for treatment.

   01:21:41                               GRAPHICS ON SCREEN:
                                          Original Snapchat Video

   01:21:42   Drew Tripp                  Morgan Doughty has a severely lacerated
                                          hand and needs surgery. Connor Cook has a
                                          laceration on his face, and a broken jaw.
                                          Miley Altman is also being examined for
                                          injuries.

   01:21:43                               GRAPHICS ON SCREEN:
                                          Original Snapchat Photo

   01:21:50                               GRAPHICS ON SCREEN:
                                          Original Snapchat Video

   01:21:58   Drew Tripp                  Paul Murdaugh is reportedly so drunk and
                                          unruly that staff is having a hard time even
                                          treating him.

   01:22:06   Anne Emerson                He's making wildly inappropriate comments
                                          to some of the staff. The question is, is why
                                          wasn't there a field sobriety test done on Paul
                                          at the scene of the accident?

   01:22:18                               GRAPHICS ON SCREEN:
                                          GREGG ROMAN
                                          Investigative Journalist

   01:22:18   Gregg Roman                 By the time that Paul Murdaugh was in the
                                          hospital, he had at least an hour and a half
                                          before he was required to submit to alcohol
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                                          testing, which could have led to the
                                          depreciation of the amount of alcohol that was
                                          in his system.

   01:22:33   Anne Emerson                An officer is attempting to talk to Paul about
                                          what had happened. "Were you driving the
                                          boat? What was going on that night? Have
                                          you been drinking?" And then, who walks in
                                          the door?

   01:22:46   Drew Tripp                  Paul has now gotten in touch with his father
                                          Alex. He's gotten in touch with his
                                          grandfather Randolph. They're now at the
                                          hospital.

   01:22:55   Anne Emerson                Randolph the third, and Alex Murdaugh say
                                          "Stop everything you're doing. You can speak
                                          to us, we're his attorneys."

   01:23:04   D'Michelle Dupree           They were trying to not just see Paul, who
                                          would be their next of kin, but also trying to
                                          see all of the other patients there, all of the
                                          other kids that were in the boat.

   01:23:15   Anne Emerson                Alex Murdaugh, according to hospital staff, is
                                          now going up and down the corridor looking
                                          at the board trying to figure out where the
                                          rooms are. And is going into the rooms to talk
                                          to the kids who were in the boat crash.

   01:23:30   D'Michelle Dupree           No-one else is typically allowed in a patient's
                                          room other than the next of kin or family. It's
                                          totally inappropriate. But that tells me that
                                          they thought they were powerful enough and
                                          intimidating enough that they would be able
                                          to do that and pull it off.

   01:23:49   Michael Virzi               Alex Murdaugh was trying to get everyone to
                                          change their story.

   01:23:50                               GRAPHICS ON SCREEN:
                                          MICHAEL VIRZI
                                          Attorney, Legal Ethics Expert

   01:23:53   D'Michelle Dupree           What Alex wanted, at that point, was to
                                          contain the situation, to control the situation
                                          to his and to Paul's advantage. And he didn't
                                          want the kids to say anything that would later
                                          be taken against Paul because of liability and
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                                          because of charges, criminal charges.

   01:24:10   Michael Virzi               Everyone says that Paul was driving the boat.

   01:24:13   Gregg Roman                 Morgan Doughty said she was afraid of Alex
                                          Murdaugh and asked the nurse to not allow
                                          him into her hospital room. She said she
                                          feared what Alex might do.

   01:24:25   Anne Emerson                The hospital staff says, "No, you're not gonna
                                          do that. We don't want you walking in, that is,
                                          that is a problem for us."

   01:24:33                               GRAPHICS ON SCREEN:
                                          Original Snapchat Photo

   01:24:34   Drew Tripp                  According to Connor, Alex got to him and
                                          was following him as they're stretchering him
                                          down the hall to take him into surgery and
                                          was talking to him and telling him, you know,
                                          "Don't say anything, we'll take care of you.
                                          We'll take care of this. We got it."

   01:24:55   Anne Emerson                Alex Murdaugh tells Connor Cook, he's got
                                          an attorney to represent him, to help him.

   01:25:01   Drew Tripp                  Alex Murdaugh specifically was trying to
                                          work behind the scenes to pin the boat
                                          accident on Connor. To make it seem as
                                          though he was driving and he was at fault.

   01:25:10                               GRAPHICS ON SCREEN:
                                          Original Snapchat Photo

   01:25:14                               GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

   01:25:18   Drew Tripp                  And nobody would know more about civil
                                          liability, criminal liability than Alex
                                          Murdaugh and his family. They knew what
                                          they stood to lose.

   01:25:29                               GRAPHICS ON SCREEN:
                                          KIMBERLY BRANT
                                          Hampton Native

   01:25:29   Kimberly Brant              Those two Murdaughs were doing damage
                                          control for their family while Mallory Beach
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                                                laid out there in that cold water.

   01:25:39                                     GRAPHICS ON SCREEN:
                                                By 7 am, five hours after the crash,
                                                Mallory Beach still has not
                                                been found.

   01:25:46   Drew Tripp                        My connection to Mallory was through
                                                people who I knew, and immediately the next
                                                morning started seeing pleas on social media
                                                for help finding her, alerting the community
                                                to "Hey, my friend is missing."

   01:25:53                                     GRAPHICS ON SCREEN:
                                                MON 12:34 PM

                                                Hope they find your friend what
                                                we're y'all doing on the boat at
                                                3am?

                                                I don't get how y'all could crash
                                                into the bridge did your lights
                                                malfunction?

   01:25:56                                     GRAPHICS ON SCREEN:
                                                Extract from social media

   01:26:02   Anne Emerson                      The water is not a good friend at this time.
                                                That tide is pulling out. The way things are
                                                starting to look, it's not good.

   01:26:14                                     Break 3

   01:26:22   Female TV broadcaster (Archive)   Crews are continuing to search for a former
                                                USC student who went missing over the
                                                weekend near Parris Island. Officials say six
                                                people were on a boat, when it crashed into a
                                                bridge. The other five people were hurt, but
                                                are expected to be OK. The National Center
                                                for Missing and Endangered names the sixth
                                                missing woman as Mallory Beach.

   01:26:25                                     GRAPHICS ON SCREEN:
                                                WIS10 News update

   01:26:40   Lt. Michael Thomas (Archive)      So tide, wind is always a factor. Water
                                                temperature's a factor.

   01:26:42                                     GRAPHICS ON SCREEN:
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                                                LT MICHAEL THOMAS
                                                SOUTH CAROLINA DNR

   01:26:48   Kimberly Brant                    It still gives me chills, I thought about that
                                                child out in that water.

   01:26:55   Kimberly Brant                    I thought about that pretty smile, that pretty
                                                face of that child that was out there
                                                somewhere. We didn't know if we would ever
                                                find her.

   01:27:01                                     GRAPHICS ON SCREEN:
                                                KIMBERLY BRANT
                                                Hampton Native

   01:27:05                                     GRAPHICS ON SCREEN:
                                                In the days following the boat crash,
                                                the search for Mallory expands.

   01:27:13   Anne Emerson                      Anybody that had a boat was gonna be out
                                                there looking for this young girl. Everybody
                                                wanted to find her, no matter what it took.

   01:27:17                                     GRAPHICS ON SCREEN:
                                                ANNE EMERSON
                                                Investigative Reporter WCIV TV

   01:27:19                                     GRAPHICS ON SCREEN:
                                                Extract from newspaper article

   01:27:24   Female TV broadcaster (Archive)   More details about the continuing search for
                                                Hampton County South Carolina teenager.
                                                Sean Evans went to the boat ramp and brings
                                                us the details about the search conditions on
                                                the third day.

   01:27:24                                     GRAPHICS ON SCREEN:
                                                WTOC news update

   01:27:32   Sean Evans (Archive)              There is a lot of support out here for the
                                                family of the missing woman, and rescuers
                                                are also relaying information to the family as
                                                the search continues as often as they can.

   01:27:42   Clay Emminger                     The community came together in the search
                                                for Mallory in leaps and bounds. It was pretty
                                                amazing to see all those folks show up with
                                                their personal boats, and, and eager to help
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                                              and try to find Mallory. It was more and more
                                              people every day.

   01:27:47                                   GRAPHICS ON SCREEN:
                                              CLAY EMMINGER
                                              Skipper, Beaufort Water Search & Rescue

   01:27:53                                   GRAPHICS ON SCREEN:
                                              For anyone coming in from out of town to
                                              help today...
                                              Put in your GPS
                                              Port Royal Sound Foundation
                                              310 Okatie Highway, Okatie, SC 29909
                                              There's also a Maritime Center for visual
                                              reference. This is an easy
                                              in and out for those not familiar with our area!

                                              17
                                              1 Comment 14 shares

   01:27:57                                   GRAPHICS ON SCREEN:
                                              WTOC news update

   01:27:57   Male TV broadcaster (Archive)   Boat crews and dive teams continue to look in
                                              the initial search area and beyond as the hours
                                              and days go on. Beach's family says right now
                                              they're asking for prayers.

   01:28:09   Nicholas Ginn                   And because Hampton is a small community
                                              and everybody knows everybody, everybody
                                              cares about everyone. Anything tragic like
                                              that is going to be a big deal. And that was
                                              someone's daughter.

   01:28:10                                   GRAPHICS ON SCREEN:
                                              NICHOLAS GINN
                                              Hampton Native

   01:28:26   Anne Emerson                    Mallory's parents, they were out there every
                                              day. They wanted to know where their
                                              daughter was. They prayed, they leaned hard
                                              on their faith. They leaned hard on their
                                              friends. And you could feel it that this was
                                              just ripping the community apart every day
                                              that passed.

   01:28:37                                   GRAPHICS ON SCREEN:
                                              find my baby!! GOD BLESS you all!!!
                                              you may already have a picture of what she
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                                                was wearing that night,
                                                but just in case I am sending one also. Love to
                                                everyone involved in
                                                this search" - Family Member

   01:28:45                                     GRAPHICS ON SCREEN:
                                                March 3, 2019
                                                Mallory Beach is found

   01:28:51   Female TV broadcaster (Archive)   Beaufort County Coroner confirms the body
                                                of a woman found near the Broad River boat
                                                ramp Sunday is Mallory Beach.

   01:28:56                                     GRAPHICS ON SCREEN:
                                                WTOC news update

   01:28:58   Male TV broadcaster (Archive)     It's the conclusion that family and friends of
                                                Mallory Beach feared after praying for a week
                                                for a miracle that maybe she had survived that
                                                boat crash and would be found alive.

   01:29:07                                     GRAPHICS ON SCREEN:
                                                Actual Crime Scene Photo

   01:29:10   Drew Tripp                        A week goes by and finally, some searchers
                                                find Mallory's body. This was about five
                                                miles from where the accident happened. The
                                                coroner ruled her cause of death as blunt force
                                                trauma and drowning.

   01:29:12                                     GRAPHICS ON SCREEN:
                                                DREW TRIPP
                                                Investigative Producer WCIV TV

   01:29:15                                     GRAPHICS ON SCREEN:
                                                Actual Crime Scene Photo

   01:29:25                                     GRAPHICS ON SCREEN:
                                                Extract from newspaper article

   01:29:29                                     GRAPHICS ON SCREEN:
                                                Actual Crime Scene Photo

   01:29:39   Kimberly Brant                    Mallory Beach was a sweet child. A loving
                                                and caring person. She was a friend of my
                                                niece's. Just a beautiful girl And so sweet and
                                                appreciative of anything that you do for her.
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   01:29:57   Kimberly Brant              It just breaks my heart to think about that.

   01:30:01   Anne Emerson                Anthony was so taken with her you can see it
                                          in the pictures of them together.

   01:30:06                               GRAPHICS ON SCREEN:
                                          Original Snapchat Video

   01:30:11   Anne Emerson                To have her ripped from your arms, literally,
                                          in such a violent way, and to not even be able
                                          to find her yourself is so damaging to
                                          Anthony.

   01:30:27                               GRAPHICS ON SCREEN:
                                          Extract from newspaper article

   01:30:28   Anne Emerson                At the funeral, there's this outpouring from
                                          the community. Hundreds of people come and
                                          pay tribute just to support the family, and let
                                          'em know how much Mallory meant to the
                                          community.

   01:30:46   Kimberly Brant              These people would give everything they
                                          have to have Mallory back. They would. They
                                          would give everything.

   01:31:12   Anne Emerson                I don't think that the Murdaughs knew what
                                          was at stake yet, but they knew that there was
                                          a snowball coming down the hill fast.

   01:31:21   Drew Tripp                  Paul Murdaugh, 19 years old at the time, not
                                          legally able to buy or consume alcohol,
                                          driving a boat that belonged to his father,
                                          unsupervised. Three people injured at least,
                                          one person killed. That is a lot of liability, in
                                          the eyes of the law.

   01:31:26                               GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

   01:31:30                               GRAPHICS ON SCREEN:
                                          Extract from Boating Accident report

   01:31:43   Gregg Roman                 About a month after the death of Mallory
                                          Beach, a law suit was filed by the estate of
                                          Mallory Beach, against all of the alleged
                                          different parties who had a role to play in the
                                          death of Mallory Beach. His father was sued,
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                                          his brother was sued, the convenience store is
                                          sued.

   01:31:46                               GRAPHICS ON SCREEN:
                                          Extract from newspaper article

   01:31:55                               GRAPHICS ON SCREEN:
                                          Extract from law suit

   01:32:04                               GRAPHICS ON SCREEN:
                                          The day of the boat crash,
                                          Paul Murdaugh used I.D. belonging to
                                          his brother, Buster, to purchase beer
                                          from Parker's convenience store.

   01:32:10                               GRAPHICS ON SCREEN:
                                          February 23, 2019
                                          Day of the boat crash

   01:32:15   Anne Emerson                At Parker's gas station, one of the things that
                                          we see is when Paul goes in to get the
                                          alcohol...

   01:32:21                               GRAPHICS ON SCREEN:
                                          February 23, 2019
                                          Day of the boat crash

   01:32:26   Anne Emerson                ...he presents his brother Buster's ID, gets the
                                          alcohol and then you see him leave and go
                                          towards his boat again, and sort of raise up his
                                          arms like, "Look at what I've been able to pull
                                          off," you know?

   01:32:36                               GRAPHICS ON SCREEN:
                                          February 23, 2019
                                          Day of the boat crash

   01:32:46   Drew Tripp                  As the weeks drag on, friends and family of
                                          Mallory Beach are wondering if Paul
                                          Murdaugh is ever gonna face justice in the
                                          county where his family has been the law for
                                          100 years.

   01:32:49                               GRAPHICS ON SCREEN:
                                          DREW TRIPP
                                          Investigative Producer WCIV TV

   01:32:59                               GRAPHICS ON SCREEN:
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                                          Extract from social media

   01:33:00   Gregg Roman                 Residents of Hampton County publicly posted
                                          on the memorial page for Mallory Beach, that
                                          they thought that Paul Murdaugh was
                                          responsible for the death of Mallory Beach,
                                          that he would never be indicted for the pure
                                          fact that he was a Murdaugh.

   01:33:09                               GRAPHICS ON SCREEN:
                                          GREGG ROMAN
                                          Investigative Journalist

   01:33:14   Drew Tripp                  To the surprise of many, Paul is in fact
                                          indicted on April 18, 2019, nearly two months
                                          after the crash.

   01:33:21                               GRAPHICS ON SCREEN:
                                          Pictures of Murdaugh family members

   01:33:23   Michael Virzi               Once you understand the power of the
                                          Murdaugh family, in that solicitor's office,
                                          and in that circuit, maybe it's surprising that
                                          he ever was charged.

   01:33:28                               GRAPHICS ON SCREEN:
                                          MICHAEL VIRZI
                                          Attorney, Legal Ethics Expert

   01:33:31                               GRAPHICS ON SCREEN:
                                          Extract from document

   01:33:33   Anne Emerson                He is now facing a felony BUI, boating under
                                          the influence, that resulted in death and two
                                          BUIs resulting in great bodily injury. This is a
                                          kid who could be looking at 25 years in jail.

   01:33:39                               GRAPHICS ON SCREEN:
                                          ANNE EMERSON
                                          Investigative Reporter WCIV TV

   01:33:49                               GRAPHICS ON SCREEN:
                                          Paul Murdaugh is the only boat crash
                                          survivor to be indicted.

   01:33:55                               GRAPHICS ON SCREEN:
                                          On May 6, 2019, he pleads not guilty at the
                                          Beaufort County Courthouse.
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   01:34:02   Drew Tripp                  Typically when someone is showing up in
                                          bond court, they are in a jail jumpsuit.

   01:34:10   Kimberly Brant              I think the way they handled it was
                                          <LAUGHS> pretty classic. They took his
                                          mug shot in the hallway of the courthouse. It
                                          just showed that he was being treated in a way
                                          that didn't reflect what should have happened.

   01:34:25   Gregg Roman                 Paul Murdaugh is released on a bond on his
                                          own recognizance. Even though he was under
                                          court order to not participate in the
                                          consumption of alcohol, there's video of him
                                          being out in Columbia, South Carolina, after
                                          he was indicted, drinking excessively,
                                          partying, almost as if he forgot what led to the
                                          death of that young girl.

   01:34:29                               GRAPHICS ON SCREEN:
                                          Original Cellphone video

   01:34:56   Kimberly Brant              Paul was, I don't know, he was different. I
                                          observed Paul when he was young. He was a
                                          child that liked to kill little baby animals. He
                                          would take a kitchen knife and kill a lizard or
                                          a frog.

   01:35:15   Gregg Roman                 Paul Murdaugh was around 14 or 15 years old
                                          when he started drinking. And this can be
                                          confirmed by his own social media that he put
                                          online. There was allegations of excessive
                                          binge drinking that would take place both at
                                          the Murdaugh family home, and at different
                                          properties that they own.

   01:35:32   Drew Tripp                  Paul's wild uncontrollable, erratic, somewhat
                                          dangerous personality was exacerbated by his
                                          drinking. It came out when he's drinking.

   01:35:46   Gregg Roman                 Morgan, Miley, Connor, and Anthony all
                                          talked about how much of a vicious drunk
                                          Paul Murdaugh was.

   01:35:58   Kimberly Brant              Don't discount Paul for one second. He could
                                          do, he could kill anyone, I believe, in my
                                          opinion he could.

   01:36:10                               Break 4
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   01:36:17                               GRAPHICS ON SCREEN:
                                          Original Cellphone Video

   01:36:20   Gregg Roman                 There's college kid drunk, and then there's
                                          Paul Murdaugh drunk. He had an alter ego,
                                          that he would transform into after having
                                          drank too much. Timmy was the name his
                                          friends gave to a blackout drunk Paul
                                          Murdaugh.

   01:36:20                               GRAPHICS ON SCREEN:
                                          GREGG ROMAN
                                          Investigative Journalist

   01:36:29                               GRAPHICS ON SCREEN:
                                          Original Cellphone Video

   01:36:35                               GRAPHICS ON SCREEN:
                                          ANNE EMERSON
                                          Investigative Reporter WCIV TV

   01:36:36   Anne Emerson                And they would say "Uh oh, here comes
                                          Timmy."

   01:36:40   D'Michelle Dupree           A lot of people were wary of Timmy because
                                          they knew that he would be agitated, he
                                          would want to fight and could not be reasoned
                                          with when Timmy appeared.

   01:36:46                               GRAPHICS ON SCREEN:
                                          D'MICHELLE DUPRE
                                          Forensic Pathologist

   01:36:50                               GRAPHICS ON SCREEN:
                                          February 24, 2019

   01:36:53                               GRAPHICS ON SCREEN:
                                          Night of the boat crash

   01:37:00   Anne Emerson                What was going on on that boat, the night of
                                          the crash was violent. Fueled by alcohol and
                                          the actions of Paul Murdaugh.

   01:37:05                               GRAPHICS ON SCREEN:
                                          Original Snapchat Video

                                          Miley
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   01:37:07                               GRAPHICS ON SCREEN:
                                          Mallory

   01:37:08                               GRAPHICS ON SCREEN:
                                          Morgan

   01:37:10                               GRAPHICS ON SCREEN:
                                          Anthony

                                          Mallory

   01:37:15                               GRAPHICS ON SCREEN:
                                          Investigators retrace the events of
                                          February 24th, 2019
                                          and make a shocking discovery.

   01:37:23   Anne Emerson                When the kids leave the oyster roast, they
                                          don't go back to the river house. They decide
                                          to go downtown. And it wasn't a mutual
                                          decision. This was Paul, who really wanted to
                                          go downtown. "Let's go downtown." There
                                          were kids that were fighting it on the boat.
                                          They were saying, "No, no, no I gotta get
                                          back." Like, all of a sudden this is turning into
                                          an adventure that they hadn't signed up for
                                          basically. But in the end, Paul wins, 'cause
                                          he's driving the boat. So he takes them down
                                          to the Beaufort Day Dock where he pulls the
                                          boat in.

   01:37:39                               GRAPHICS ON SCREEN:
                                          Actual Security Footage on February 24, 2019

   01:37:47                               GRAPHICS ON SCREEN:
                                          Actual Security Footage on February 24, 2019

   01:37:56                               GRAPHICS ON SCREEN:
                                          Actual Security Footage on February 24, 2019

   01:38:00                               GRAPHICS ON SCREEN:
                                          12:50 am

   01:38:02                               GRAPHICS ON SCREEN:
                                          90 minutes before the crash

   01:38:04                               GRAPHICS ON SCREEN:
                                          Actual Security Footage on February 24, 2019
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   01:38:05   Gregg Roman                 Paul Murdaugh, and Connor Cook, proceeded
                                          to go to Luther's Well and Rare to go
                                          drinking. You see the three girls and Anthony
                                          Cook going to the playground and sitting on
                                          the swings that are right at the exit of the
                                          public dock there.

   01:38:10                               GRAPHICS ON SCREEN:
                                          Actual Security Footage on February 24, 2019

   01:38:26                               GRAPHICS ON SCREEN:
                                          Actual Security Footage

   01:38:35   Anne Emerson                Paul and Connor go amble up to the bar and
                                          what they were doing was taking shots.

   01:38:40                               GRAPHICS ON SCREEN:
                                          Actual Security Footage

                                          Paul
                                          Connor

   01:38:43   Gregg Roman                 So, after having drank at the oyster roast, and
                                          then Jaeger shots and lemon drop shots, he
                                          was wasted.

   01:38:45                               GRAPHICS ON SCREEN:
                                          Actual Security Footage

   01:38:51                               GRAPHICS ON SCREEN:
                                          Actual Security Footage

   01:38:54   Gregg Roman                 They then left, visibly were stumbling, back
                                          to the public dock.

   01:39:05   Anne Emerson                The kids start noticing that his hands are
                                          doing something strange like they're opening
                                          up and he's walking with these weird hands.

   01:39:12                               GRAPHICS ON SCREEN:
                                          Actual Security Footage

   01:39:14   D'Michelle Dupree           The splaying of the hands is just that emotion
                                          and that anger building up, and that was a
                                          sign that Timmy was coming on board and
                                          that he was intoxicated.
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   01:39:24                               GRAPHICS ON SCREEN:
                                          Actual Security Footage

   01:39:31   Anne Emerson                And then you have this heartbreaking moment
                                          where you see Mallory and Anthony walking
                                          towards the boat. And Anthony's giving her
                                          this big grin. And you see her smiling and it's
                                          like the last moment you see Mallory.

   01:39:38                               GRAPHICS ON SCREEN:
                                          Actual Security Footage

   01:39:47   Anne Emerson                I, I think that is what kinda breaks your heart.
                                          We also know that Anthony, at that moment,
                                          is thinking, "Don't get back on this boat."
                                          They're trying to figure out how to get home,
                                          "Now what do we do?"

   01:40:00   Drew Tripp                  Anthony and Paul had an argument on the
                                          dock outside. Anthony is pleading with Paul
                                          to let him drive.

   01:40:05                               GRAPHICS ON SCREEN:
                                          DREW TRIPP
                                          Investigative Producer WCIV TV

   01:40:07   Gregg Roman                 Anthony said, "You better let me drive.
                                          You've drank too much." And Paul said, "It's
                                          my boat, I'm gonna drive."

   01:40:13                               GRAPHICS ON SCREEN:
                                          Actual Security Footage

   01:40:16   Anne Emerson                But when they get on the boat, he is acting
                                          drunk, he's acting erratic. At one point, one of
                                          the kids says he almost hits some of the
                                          sailboats. It's scary, and they're worried...and
                                          it gets violent.

   01:40:30   Drew Tripp                  He's getting into fights with everybody on the
                                          boat. It even gets to the point where he
                                          apparently spits on and hits his girlfriend
                                          Morgan.

   01:40:40   Gregg Roman                 He decided to strip down to his skivvies, and
                                          start driving in freezing cold weather, in the
                                          middle of February, in South Carolina.
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   01:40:51   Drew Tripp                  They pause in Archers Creek...and then he
                                          hits the throttle.

   01:41:04                               GRAPHICS ON SCREEN:
                                          2019

   01:41:06                               GRAPHICS ON SCREEN:
                                          2020

   01:41:06                               GRAPHICS ON SCREEN:
                                          2021

   01:41:09                               GRAPHICS ON SCREEN:
                                          More than two years have passed since
                                          the boat crash and
                                          Paul Murdaugh's indictment.

   01:41:15                               GRAPHICS ON SCREEN:
                                          Finally, he is summoned
                                          to appear at the
                                          Beaufort County Courthouse.

   01:41:24   Drew Tripp                  Paul is just now about to have his first hearing
                                          in court related to the felony charges against
                                          him from that boat crash. That hearing is
                                          scheduled for June 10th, 2021. And this is a
                                          big deal, this is a big development. Finally
                                          some progress in this case that has garnered
                                          so much attention and is so close to home for
                                          so many people in this small, tight knit
                                          community.

   01:41:28                               CREDITS BEGIN

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   01:41:53   Anne Emerson                What happened next absolutely nobody could
                                          have ever seen coming.

   01:41:58                               GRAPHICS ON SCREEN:
                                          June 7, 2021
                                          10:07 pm

   01:42:04                               GRAPHICS ON SCREEN:
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                                          Actual 911 Call
                                          10:07 pm

   01:42:08                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Hampton county 9-1-1.
                                          Where's your emergency?

   01:42:08   911 Operator (Archive)      Hampton county 911. Where's your
                                          emergency?

   01:42:11   Alex Murdaugh               This is Alex Murdaugh, I need the police and
                                          an ambulance immediately. My wife and
                                          child have been shot badly.

   01:42:12                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          This is Alex Murdaugh.

   01:42:13                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          I need the police and an
                                          ambulance immediately.

   01:42:16                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          My wife and child have
                                          been shot badly.

   01:42:19                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay and are they breathing?

   01:42:19   911 Operator (Archive)      OK, and are they breathing?

   01:42:22                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          No Ma'am.

   01:42:22   Alex Murdaugh               No ma'am.
